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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                          Alexandria Division

UNITED STATES OF AMERICA                        :
                                                :      Criminal No. 21-CR-245 (AJT)
               v.                               :
                                                :
IGOR Y. DANCHENKO,                              :
                                                :
                      Defendant.                :
                                                :

                         CONSENT MOTION TO
          ADJOURN THE CLASSIFIED DISCOVERY AND CIPA SCHEDULE

       The United States of America, by and through its attorney, Special Counsel John H.

Durham with the consent of defense counsel, respectfully moves this Honorable Court, pursuant

to the Classified Information Procedures Act (“CIPA”), 18 U.S.C. App. III §§ 1-16, to adjourn

the deadline for production of classified discovery, which is currently set for March 29, 2022.

The government also respectfully requests that the Court reset the CIPA filing schedule in

accordance with the proposed schedule set forth below. The government has consulted counsel

with counsel for the defendant and they do not object to the adjournment and extension of filing

deadlines. The proposed dates would not result in an adjournment of the October 11, 2022 trial

date or any other associated deadlines.

       To date, the government has produced over 60,000 documents in unclassified discovery.

A portion of these documents were originally marked “classified” and the government has

worked with the appropriate declassification authorities to produce the documents in an

unclassified format. However, recent world events in Ukraine have contributed to delays in the

production of classified discovery. The officials preparing and reviewing the documents at the

FBI and intelligence agencies are heavily engaged in matters related to Ukraine. Nevertheless,
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the government will produce a large volume of classified discovery this week and will continue

its efforts to produce documents in classified discovery on a rolling basis, and no later than the

proposed deadlines set forth below.

       For the Court’s consideration, the government, in consultation with defense counsel,

proposes the following pretrial deadlines:

       Deadline to produce classified discovery:                       May 13, 2022

       Government’s Section 4 filing:                                  May 31, 2022

       Ex parte Section 4 hearing:                                     June 8, 2022

       Defendant’s Section 5(a) written notice:                        June 22, 2022

       Government’s response to defendant’s Section 5(a):              July 12, 2022

       Defendant’s reply:                                              July 19, 2022

                                             Respectfully submitted,

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                                              Special Counsel

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